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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
--------------------------------------------------------------------X
UNITED STATES OF AMERICA,                                             22-mj-00203

                                                                        MOTION TO
                 - against -                                            TEMPORARILY
                                                                        MODIFY CONDITIONS
JON LIZAK,                                                              OF RELEASE

                                    Defendant.
--------------------------------------------------------------------X

        KEVIN J. KEATING, an attorney duly admitted to the practice of law affirms as follows:

        1.       I am attorney for Jon Lizak and, thus, fully familiar with the facts and circumstances

of this case. This affirmation is submitted in furtherance of the instant motion to modify Lizak’s

conditions of release.

        2.        Lizak is 23 years old and without any criminal history. He was originally arraigned

in this matter on September 22, 2022 on a misdemeanor charge and released on an unsecured bond

with customary travel restrictions. To date, Lizak has been fully compliant with the conditions of

his release.

        3.       Since the inception of this matter, one of Lizak’s conditions of release has been that

he not communicate with any of the co-defendants, in the absence of counsel. One of Lizak’s co-

defendants is Thomas Carey, who has been a hometown, lifelong friend of Lizak’s with whom

Lizak shares an extremely close relationship, as he does with Mr. Carey’s other family members.

Mr. Carey has already entered a guilty plea in this matter, and our fruitful negotiations with the

Government remain ongoing. With this, I write to respectfully request that Mr. Lizak’s conditions

of release be modified so as to enable him to freely communicate with Mr. Carey.
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       4.     I have conferred with AUSA Joseph Huynh, who offers his consent to this

application. I have attempted to confer with Pretrial Services Officer Marnie Gerardino, but my

attempts to contact her have been unsuccessful.

       WHEREFORE, it is respectfully requested that the Court grant the requested relief.

Dated: Garden City, New York
       April 17, 2023


                                            Respectfully submitted,

                                            LAW OFFICE OF KEVIN J. KEATING, P.C.


                                            /s/ Kevin J. Keating
                                            By: Kevin J. Keating, Esq.
                                            Pro Hac Vice Counsel for Defendant, Jon Lizak
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                                            Garden City, New York 11530
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To:    AUSA Joseph Huynh




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